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                                                                                         IN CLERK'S O^CE        ^
                                                                                    U.S. DISTRICT COURT E.D.N.Y.
   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
                                                                                    ^ MAY 0 7 2019 *
                                                                                       BROOKLYN OFFICE
   In re PAYMENT CARD INTERCHANGE
   FEE AND MERCHANT DISCOUNT                                        No.05-MD-01720(MKB)(JO)
   ANTITRUST LITIGATION



          STATEMENT OF OBJECTIONS OF CLASS MEMBER TAYLOR OIL.INC.

           Taylor Oil, Inc. (hereinafter "Company") accepted Visa and Mastercard transaction cards
   between 2004 and the present date. Company is a member of the Rule 23(b)(3) settlement class
   in this case, and it has not engaged in any other settlement of its claims against Visa and/or
   Mastercard. Company hereby submits its objections to the proposed settlement preliminarily
   approved by the Court in January of this year.

          Company is located at Taylor Oil, Inc. 504 Main St, PO Box 581, Wellsville, KS 66092.
   Company is a petroleum marketer engaged in the wholesale and retail sale of branded motor fuels.
   Since 1971 it has accepted Visa and Mastercard transaction cards at retail service station and
   convenience store locations. Motor fuels at these locations have been sold under the BP, Amoco,
   Phillips 66,Cenex,and Sinclair brands since 2004,and the credit card transactions at each location
   were processed by the applicable branded supplier.

           Company is concerned that the Court will concur in the arguments of Defendants that
   certain major oil company branded suppliers are entitled to file claims against the settlement fund
   for transactions at retail locations where Company accepted the applicable Visa or Mastercard
   transaction cards and paid the interchange fees. Company understands that the Court has indicated
   that class counsel cannot represent both the branded suppliers and branded marketers, like
   Company, because only one of the two groups is entitled to settlement funds attributable to
   Company's retail locations. None of the class representatives were branded marketers, and
   branded marketer interests were not represented when the settlement was negotiated. Nor are they
   adequately represented now by a conflicted class counsel who are incapable of asserting branded
    marketer interests when they conflict with the interests of major oil companies.

           As of now. Company is totally in the dark as to whether, having accepted the cards and
   paid the interchange fees, it is part of the settlement class, whether it is entitled to a full or partial
   recovery, or whether any mechanism is in place to sort all ofthis out. Nothing in the Class Notice
   states whether Company or its branded supplier(whose fuel Company sells) have a right to recover
   for transactions at these locations. In short. Company is concerned that it is being deprived of its
   legal right to fully participate in the settlement.

          In addition to not knowing what recovery Company may be entitled to as part of the class
   settlement, we do not believe that proper efforts are being made to notify branded marketers, like
   Company,so that they can object to the settlement. Although Company was sent a Class Notice
   from the Claims Administrator, other branded petroleum marketers have received no notice even
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   though they accepted the cards, and paid the fees, during the relevant period. The names and
   addresses of branded petroleum marketers, like Company, can be obtained by the Claims
   Administrator from the branded suppliers.

          Branded marketers should be informed now whether a procedural mechanism will be put
   in place to determine whether, and to what extent, branded marketers will participate in the
   settlement, what evidence they need to present, and whether there will be procedural hurdles they
   need to overcome to claim their rights as class members. Unless and until these issues are
   addressed and properly resolved by the Court, Company respectfully objects to the class
   settlement.


                                               Respectfully submitted,

                                               Taylor Oil, Inc.


                                               By: Curt Wright



                                               Vice Presi
